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                            Wells Fargo - 7792
Deposit Source   Transactions        Total        Connection to Business

    Cash              764        $1,017,684.65
   TOTAL                         $1,017,684.65

                                PAYEES
        Payee                     Count                     Total
    Ian Freeman                    64                   -$790,600.52
   Free Talk Live                   2                    -$9,000.00
   R      L                        13                    -$1,899.54
  Shire Free Church                22                   -$198,840.00
       TOTAL                                           -$1,000,340.06
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